Case 2:02-Cr-20165-BBD Document 623 Filed 08/30/05 Page 1 of 3 Page|D
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IN THE UNITED sTATES DISTRICT COURT 05 Aus 30 PH 11= l l
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION M"%"§ASMT§OW-DM
W/D {11"-' 111111119515

UNITED STATES OF AMERICA,

Plaintiff, Case No.: 02-20165 D

V.

GEOFFREY L. FELDMAN (Defendant No. 5),
SHERRIE-LEE DOREAN CAVE (Defendant. No. 6),
STACY LAYNE BEAVERS (Defendant No. 12), and
MICHAEL ELLIOT COLE (Defendant No. 17),

Defendants.

 

ORDER STRIKING MOTIONS

 

On the docket are pending motions as to the above defendants. lt appears that each defendant
has entered a plea of guilty and been sentenced Accordingly, all pending motions as to each

defendant should be stricken as moot, to Wit:

Defendant Docket Entg No.
Geoffrey L. Feldman 533; 539; and 543
Sherrie Lee Doreen Cave 523; 533; 539; and 543
Stacy Layne Beavers 533; 539; and 543
Michael Elliott Cole 276, 533; and 539

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Honorable Bernice Donald
US DISTRICT COURT

